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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

at
GARY EVANS . JUDGE BAER |

Plaintiff, COMPLAINT

asin 04 (V 5174

NEW YORK CITY, NEW YORK CIY POLICE OFFICER SHIELD # 01199
and UNIDENTIFIED NEW YORK CITY POLICE OFFICER.
JURY TRIAL DEMANDED

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Defendant(s).
x
The plaintiff, complaining of the defendants, by his attorney, FRED

 

LICHTMACHER, ESQ, respectfully shows to this Court and alleges:

JURISDICTION
1. Jurisdiction is founded upon the existence of a Federal Question.
2. This is an action to redress the deprivation under culor of stalule, ordinance, regulation,

custom, or usage of rights, privileges, and immunities secured to plaintiff by the Fourth

and Fourteenth Amendments to the Constitution of the United States pursuartto 424J.S.C.
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§ 1983. on er “4
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3. Jurisdiction is founded upon 28 U.S.C. Sections 1331, 1343(3) and 1349%4),‘Ris being an
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action authorized by law to redress the deprivation under color of law, Sfatutes ordinance,
regulation, custom and usage of rights, privileges, and immunities secured Polaintite by
the Fourth and Fourteenth Amendments ta the Constitution of the United States.

4, The matter in controversy exceeds, exclusive of interest and costs, the sum or value of ONE
HUNDRED FIFTY THOUSAND ($150,000.00) DOLLARS.

PARTIES

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10.

That the plaintiff, GARY EVANS, is a resident of New York County in the City and State
of New York.

Upon information and belief, that at all times hereinafter mentioned, the defendant, CITY
OF NEW YORK, (NYC) was and still is a municipal corporation duly organized and
existing under and by virtue of the laws of the State of New York, and that at all times
relevant all Defendant officers were acting for, upon, and in furtherance of the business of
their employer and within the scope of their employment.

Upon information and belief, that at all times hereinafter mentioned, the defendant, NYC,
its agents, servants and employees uperatcd, maintained and controlied the NEW YORK
CITY POLICE DEPARTMENT (NYPD), including all the police officers thereof.

Upon information and belief, that at all times hereinafter mentioned, Defendants, NEW
YORK CITY POLICE OFFICER SHIELD # 01199 and UNIDENTIFIED NEW YORK
CITY POLICE OFFICER were employed by the defendant, NYC, as members of its police
department.

The NYPD, is aiocal governmental agency, duly formed and operating under and by virtue
of the Laws and Constitution of the State of New York and the, COMMISSIONER OF
THE NYPD, is responsible for the policies, practices and customs of the NYPD as well as
the hiring, screening, training, supervising, controlling and disciplining of its police officers
and civilian employees and is the final decision maker for that agency.

This action arises under the United States Constitution, particularly under provisions of the
Fourth and Fourteenth Amendments of the Constitution of the United States, and under

federal law, particularly the Civil Rights Act, Title 42 of the United States Code, Section

 
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1983.
Each and all of the acts of the defendants alleged herein were done by the defendants,
acting as state actors acting under the color of law.

STATEMENT OF FACTS

 

On February 12, 2003, at approximately 9:30-9:45 PM the plaintiff was returning from
work and he was walking by the service entrance of the El Dorado Hotel at 91" Street and
Central Park West in New York, New York.
Plaintiff was approached by the defendants, two New York City Police Officers, who
started yelling at him and who began tu punch him in the face.
Defendants searched plaintiff and when they found a radio on him they told him it was a
police band radio and one defendant officer hit him in the left eye with the radio causing
the plaintiff to go to the ground.
The plaintiff who was at this point bleeding profusely asked for an ambulance and it was
sent to the scene of the beating,
The defendants lifted plaintiff up by a chain he was wearing around his neck.
AS AND FOR A FIRST CAUSE OF ACTION
ON BEHALF OF PLAINTIFF
VIOLATION OF THE PLAINTIFF’S RIGHTS PURSUANT TO

42 U.S.C. § 1983 AND THE FOURTH AMENDMENT VIA
THE USE OF EXCESSIVE AND UNREASONABLE FORCE

 

Plaintiff repeats, reiterates and realleges each and every allegation contained in the prior
paragraphs with the same force and effect as is more fully and at length set forth herein.

That the plaintiff's rights have been violated under the Fuurth Amendment of the United
States constitution made applicable to the states via the Fourteenth Amendment pursuant

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to 42 U.S.C, § 1983, in that plaintiff was unlawfully subjected to excessive and
unreasonable force, by the defendants who assaulted him by punching him, hitting him with
a radio, lifting him by a chain around his neck and by otherwise assaulting him.

That the said assault on the plaintiff was caused by defendants without authority of law and
without any reasonable necessity to use any force much less the excessive force that they
employed against the plaintiff and the force that was employed was used without any legal
justification and without plaintiffs consent.

As a direct result of defendants’ actions, plaintiff was deprived of rights, privileges and
immunities under the Fourth Amendment of the United States Constitution being more
particularly plaintiff's right to be free from the use of excessive and unreasonabie force.
That the defendants assaulted the plaintiff, with intent to cause him physical injury.

That by reason of the unlawful use of excessive and unreasonable force, the plaintiff was
harmed physically requiring him to receive medical treatment, and that he was subjected
to physical pain, humiliation, embarrassment, anxiety, he was subjected to various physical
and emotional harms and he was otherwise harmed.

That by reason of the aforesaid, the plaintiff has been damaged in a sum not to exceed
FIVE HUNDRED THOUSAND ($500,000.00) DOLLARS, he is entitled to an award of

punitive damages, and that an award of attorney’s fees is appropriate pursuant to 42 U.S.C.

§1988.

AS AND FOR A SECOND CAUSE OF ACTION
QN BEHALF OF PLAINTIFF
VIOLATION OF PLAINTIFF’S RIGHTS PURSUANT TO
42 U.S.C. § 1983 AND THE FOURTH
AMENDMENT BY DEFENDANT NEW YORK CITY
i.e.,. MONELL CLAIM

 

 

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Plaintiff repeats, reiterates and realleges cach and every allegation contained in the prior
paragraphs with the same force and effect as is more fully and at length set forth herein.
That the plaintiff's rights have been violated under the Fourth Amendment to the United
States Constitution as made applicable to the states via the Fourteenth Amendment by the
defendant, NYC.

Defendant NYC and UNIDENTIFIED POLICE OFFICERS who were supervisors and
final decision makers, as a matter of policy and practice, have acted witha callous, reckless
and deliberate indifference to plaintiff's rights under the constitution and laws of the United
States, in that they failed to adequately discipline, sanction, train, retrain, supervise or
otherwise direct police officers concernin g the rights of citizens, thereby causing the
Defendant officers in this case to engage in the above-mentioned conduct.

Defendants NYC as well as UNIDENTIFIED POLICE OFFICERS who were supervisors
and final decision makers as a matter of policy and practice, have with deliberate
indifference failed to properly train, discipline, sanction and retrain police officers, despite
their knowledge of the recurring problem of violations of the constitutional ri ghts of
citizens by the use of excessive and unreasonable force and in so failing the defendant NYC
has caused, encouraged, condoned and allowed the defendants in this case, to engage in
unlawful conduct without fear of consequences for their illegal acts which did cause the
plaintiff to be subjected to deprivations of his civil rights.

That as a result of the above, the plaintiff's rights have been violated and he has incurred
physical and emotional harms and that he was otherwise harmed.

That by reason of the aforesaid, the plaintiff has been damaged in a sum not to exceed
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FIVE HUNDRED THOUSAND ($5000,000.00) DOLLARS and that an award of

attorney's fees is appropriate pursuant to 42 U.S.C. § 1988.

WHEREFORE, plaintiff demands judgment against the defendants in the sum of FIVE
HUNDRED THOUSAND ($500,000.00) DOLLARS and punitive damages on the First Cause of
Action, along with reasonable attorney’ s fees pursuant to 42 U.S.C. § 1988, and in the sim of FIVE
HUNDRED THOUSAND ($500,000.00) DOLLARS on the Second Cause of Action, along with
reasonable attorney’s fees pursuant to 42 U.S.C. § 1988 together with costs and disbursements of
this action; a trial by jury of all issues involved in this complaint; and such other and further relief

as this Court may deem just and proper under the circumstances.

Dated: June 30, 2004

New York, New York a foley fo 4
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FRED LICHTMACHER (FL-5341)
Attorney for Plaintiff

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